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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,

                    Plaintiff,


v.                                       ORDER
                                         Criminal File No. 06-211 (MJD/AJB)

(3) ERIC ROBERT HARGROVE.
a/k/a E(3),

                    Defendant.


Jeffery S. Paulson, Assistant United States Attorney, Counsel for Plaintiff.

Gary Bryant-Wolf, Counsel for Defendant.


      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Arthur J. Boylan dated

September 6, 2006. Since Judge Boylan signed the warrants at issue in this

motion, the Report and Recommendation is based on a four corners review of the

search warrants conducted by Magistrate Judge Susan R. Nelson, although the

Report and Recommendation is signed by Judge Boylan. [Doc. No. 69 at 1 n.1.]

Defendant has filed objections to the Report and Recommendation.




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      Pursuant to statute, the Court has conducted a de novo review of the

record. See 28 U.S.C. § 636(b)(1); D. Minn. L. R. 72.1(c). Based on that review

the Court adopts the Report and Recommendation dated September 6, 2006.



      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:


      1.    The Magistrate Judge’s Report and Recommendation dated
            September 6, 2006 [Docket No. 69] is hereby ADOPTED.

      2.    Defendant’s Motion to Suppress Evidence Seized Pursuant to Search
            Warrant [Docket No. 53] is DENIED.




Dated: October 26, 2006                      s / Michael J. Davis
                                             Judge Michael J. Davis
                                             United States District Court




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